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U.S. COURTS
MAR 1 9 2019

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STEPHEN W. KENYON
CLEHK, DISTR|CT OF IDAHO

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

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Plaintiff, Case No.

vs. COlV[PLAINT
(28 U.S.C. § 1331: federal question)

Jury Trial Requested ___ yes L no
Defendant.

 

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/

 

1. JURISDICTION

Jurisdiction in this case is based on a federal question (meaning that this suit is based upon a federal
statute or provision of the United States Constitution):

l:l Federal Statute:
Xl United States Constitution
l:l And a state law claim under the Court’s supplemental jurisdiction authority.

 

2. PLAINTIFF
My name iS /Q/YO\/l I§ A€ //Q . I am a citizen of the State of Id¢>j"@ ,
presently residing at 9\/ 7 5. 6'0.»’<!2/7 C'?L» #'/: Le wf$'/o/;} ID §5.5`0_/

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3. DEFENDANT AND CAUSE OF ACTION

(Copy and use a separate page for each defendant and each different type of claim; for example, if you have two di#erent
claims against one defendant, you will use two pages. Attach a continuation page lf needed but try to be brief )

A. lam suing l_CL\»/Br€/)c€ Dem’)€\/ who was acting as 566/371¢-/)/ 0 f 57£'>~%¢
(Defendant) / ( if applicable job title, cf a person; ']unction, if an entity)
for the § 71"¢.~11'€ 0 F I'r/vt /)O

( cf applicable state, county, city, federal govemment, or private entity performing a public function )

B. (Factual Basis of Claim) I am complaining that on j¢;./'UM/ 51 .)`O/$ 710 p/é$@% Defendant
(dates)
did the fOllOWil'lg (state how Defendant participated in the violation and include the reason Defendant so acted if known):

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vncle/ i’hé l";>ur%ee//M /4/)@/)!.//10@4`7€ 53 //05’ @0’5) ms 575/zeal ifbe
/O\W 0‘/%>//13{, edc/ed a Se::¢}mlp/»f< <l/".s?¢~`§u?[/`on maguire/nede vL<o
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in a?L /Q¢AML 619/)7&2/1('3) /eg»`o /of/"v<ad i`,s?§‘¢€%§.

 

 

C. (Legal Basis of Claim) I allege that the acts described above violated the following provisions of the
Constitution, federal statutes, or state laws:

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D. I allege that I suffered the following £ry or damages as a r sult:
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E. I seek the following relief: Ir) Vv~//FCL~%/`°/? O 'F ‘H'& geogr¢;QA.»c d,/`>' 741 dUJ//W') fegu/`fQ/"@'I 7L

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4. DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury:

that I am the plaintiff in this action, that I have read the complaint, and that the information contained in
the complaint is true and correct, as required by 28 U.S.C. § 1746 and 18 U.S.C. § 1621.

Executed at CDCU/` c11/4/@"@- on 03//?//, y

(Location) (Date)

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